              Case 3:25-cv-05461-DGE            Document 207          Filed 07/11/25       Page 1 of 9




 1                                                       THE HONORABLE DAVID G. ESTUDILLO

 2

 3

 4

 5

 6

 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 9

10       PAUL D. ETIENNE, et al.,                              No. 3:25-cv-05461-DGE

11                             Plaintiffs,
                                                               STIPULATED MOTION TO STAY
12
               v.                                              PROCEEDINGS AND ENTER
13                                                             PRELIMINARY INJUNCTION AS TO
         ROBERT W. FERGUSON, in his official                   COUNTY PROSECUTOR
14       capacity as Governor of Washington, et al.,           DEFENDANTS

15                             Defendants.                     AND
16
                                                               [PROPOSED] ORDER
17
                                                               NOTING DATE: July 11, 2025
18

19

20            Plaintiffs Paul D. Etienne, Joseph J. Tyson, Thomas A. Daly, Frank R. Schuster, Eusebio
21   L. Elizondo, Gary F. Lazzeroni, Gary M. Zender, Robert Pearson, Lutakome Nsubuga, Jesús
22   Mariscal, and Michael Kelly (“Plaintiffs”) and Defendants Leesa Manion, Larry Haskell, Joseph
23   Brusic, Randy Flyckt, Curt Liedkie, Eric Eisinger, Robert Sealby, Mark Nichols, Tony Golik,
24   Dale Slack, Ryan Jurvakainen, James Mitchell,1 Michael Golden, Shawn Sant, Mathew
25

26   1
      Pursuant to Federal Rule of Civil Procedure 25(d), James Mitchell, the acting Douglas County Prosecuting
     Attorney under RCW 36.16.115, is substituted in place of the Honorable Gordon Edgar, who retired as Douglas
27   County Prosecuting Attorney effective June 30, 2025.
     STIPULATED MOTION                                                             WILMER CUTLER PICKERING
28   (No. 3:25-cv-05461-DGE)                                                       HALE AND DORR LLP
                                                                                   2100 Pennsylvania Avenue NW
                                                                                   Washington, DC 20037
                                                                                   (202) 663-6000 (t)
                                                                                   (202) 663-6363 (f)
            Case 3:25-cv-05461-DGE            Document 207        Filed 07/11/25       Page 2 of 9




 1   Newberg, Kevin McRae, Norma Tillotson, Gregory Banks, James Kennedy, Chad Enright,

 2   Gregory Zempel, David Quesnel, Jonathan Meyer, Ty Albertson, Michael Dorcy, Albert Lin,

 3   Michael Rothman, Dolly Hunt, Mary Robnett, Amy Vira, Rich Weyrich, Adam Kick, Jason

 4   Cummings, Erika George, Jon Tunheim, Dan Bigelow, Gabe Acosta, Eric Richey, and Denis

 5   Tracy (the “Stipulating Defendants”) jointly move the Court, pursuant to Local Rule 7(d)(1), to

 6   stay all proceedings in this case with respect to the Stipulating Defendants pending a final

 7   judgment in this case, subject to the Stipulating Defendants’ agreement to be bound by the terms

 8   of this Stipulation and Proposed Order, including Exhibit A attached thereto.

 9          On May 29, 2025, Plaintiffs filed a Complaint (Dkt. 1) against the Stipulating Defendants

10   and others, including Robert W. Ferguson, in his official capacity as Governor of Washington

11   and Nicholas W. Brown, in his official capacity as Attorney General of Washington. The

12   Complaint alleges that Section 26.44.030(1)(a) of the Revised Code of Washington (RCW), as

13   amended by Senate Bill 5375, violates the First and Fourteenth Amendments to the U.S.

14   Constitution, as well as Article I, Section 11 of the Washington Constitution. None of the

15   defendants named in the lawsuit have yet answered or otherwise responded to the Complaint.

16          On June 5, 2025, Plaintiffs filed a Motion for Preliminary Injunction (“Motion”) against

17   all defendants (Dkt. 65) seeking to preliminarily enjoin them from enforcing or attempting to

18   enforce RCW § 26.44.030, as amended by Senate Bill 5375, as applied to information learned by

19   Roman Catholic priests solely through the Sacrament of Confession. Four defendants have filed

20   responses to the Motion. See Dkt. 131; Dkt. 172; Dkt. 175.

21          The Stipulating Defendants seek to avoid the cost and burdens of this litigation and have

22   agreed not to oppose, either during this litigation or on appeal, Plaintiffs’ requests for injunctive

23   relief against them. The Stipulating Defendants and Plaintiffs have further agreed that, to allow

24   for the Plaintiffs to pursue their claims against the remaining defendants, the Plaintiffs’ claims

25   against the Stipulating Defendants will be stayed in their entirety until the Court’s entry of a final

26   judgment in this lawsuit, thus precluding the Stipulating Defendants from (i) responding to the

27
     STIPULATED MOTION                                                   WILMER CUTLER PICKERING
28   (No. 3:25-cv-05461-DGE)                                             HALE AND DORR LLP
                                                                         2100 Pennsylvania Avenue NW
                                                                         Washington, DC 20037
                                                                         (202) 663-6000 (t)
                                                                         (202) 663-6363 (f)
              Case 3:25-cv-05461-DGE         Document 207          Filed 07/11/25     Page 3 of 9




 1   Complaint, (ii) participating in motions practice, and (iii) propounding (or being subject to)

 2   discovery. In exchange for Plaintiffs’ agreement to stay the lawsuit against them, the Stipulating

 3   Defendants stipulate to the Court’s entry of the Plaintiffs’ proposed preliminary injunction

 4   against them (Dkt. 65-1), pending the Court’s final judgment, including during the pendency of

 5   any potential interlocutory appeal. The Stipulating Defendants have further agreed to consent to

 6   the Court’s final judgment as to the remaining defendants and not to appeal any such judgment.

 7            In consideration of these mutual agreements, Plaintiffs have agreed not to seek attorneys’

 8   fees and/or costs from the Stipulating Defendants at the conclusion of this matter and regardless

 9   of the Court’s final judgment. The Stipulating Defendants have likewise agreed to waive any

10   claim for attorneys’ fees and/or costs from the Plaintiffs, regardless of the Court’s final

11   judgment.

12            IT IS SO STIPULATED by and between the Parties.

13                                             *       *       *

14   //
     //
15
              I certify that this memorandum contains 611 words, in compliance with the Local Civil
16
     Rules.
17
     DATED: July 11, 2025
18

19

20

21

22

23

24

25

26

27
     STIPULATED MOTION                                                   WILMER CUTLER PICKERING
28   (No. 3:25-cv-05461-DGE)                                             HALE AND DORR LLP
                                                                         2100 Pennsylvania Avenue NW
                                                                         Washington, DC 20037
                                                                         (202) 663-6000 (t)
                                                                         (202) 663-6363 (f)
           Case 3:25-cv-05461-DGE          Document 207   Filed 07/11/25   Page 4 of 9




 1   By: /s/ Anna K. Aruiza                        By: /s/ Siddharth Velamoor
     Anna K. Aruiza, WSBA #39663                      William J. Crowley
 2   Senior Deputy Prosecuting Attorney               CROWLEY LAW OFFICES, P.S.
     CHAD M. ENRIGHT                                  600 University Street
 3
     Kitsap County Prosecuting Attorney               Suite 1708
 4   614 Division St. MS-35A                          Seattle, WA 98101
     Port Orchard, WA 98366-4676                      Tel: (206) 224-7069
 5   Tel: (360) 337-4992                              will@crowleylawoffices.com
     Fax: (360) 337-7083
 6   aaruiza@kitsap.gov                              Matthew T. Martens (pro hac vice)
 7   Attorney for Defendant Chad Enright             Siddharth Velamoor, WSBA #40965
                                                     Donna Farag (pro hac vice)
 8   By: /s/ Heidi Jacobsen-Watts                    Zachary Halpern (pro hac vice)
     Heidi Jacobsen-Watts, WSBA #35549               WILMER CUTLER PICKERING HALE
 9   Senior Deputy Prosecuting Attorney              AND DORR LLP
     LEESA MANION                                    2100 Pennsylvania Avenue, NW
10   King County Prosecuting Attorney                Washington, DC 20037
11   701 Fifth Ave., Suite 600                       Tel: (202) 663-6000
     Seattle, WA 98104                               Fax: (202) 663-6363
12   Tel: (206) 477-1120                             matthew.martens@wilmerhale.com
     Fax: (206) 296-0191                             siddharth.velamoor@wilmerhale.com
13   heidi.jacobsen-watts@kingcounty.gov             donna.farag@wilmerhale.com
     Attorney for Defendant Leesa Manion             zac.halpern@wilmerhale.com
14

15   By: /s/ Philip C. Hunsucker                     Leah M. Fugere (pro hac vice)
     Philip C. Hunsucker, WSBA #48692                WILMER CUTLER PICKERING HALE
16   Chief Civil Deputy Prosecuting Attorney         AND DORR LLP
     JAMES KENNEDY                                   350 South Grand Avenue
17   Jefferson County Prosecuting Attorney           Suite 2400
     1820 Jefferson Street/P.O. Box 1220             Los Angeles, CA 90071
18   Port Townsend, WA 98368                         Tel: (213) 443-5300
19   Tel: (360) 385-9180                             Fax: (213) 443-5400
     PHunsucker@co.jefferson.wa.us                   leah.fugere@wilmerhale.com
20   Attorney for Defendant James Kennedy
                                                     Robert Kingsley Smith (pro hac vice)
21   By: /s/ Amanda Migchelbrink                     WILMER CUTLER PICKERING HALE
     Amanda Migchelbrink, WSBA #34223                AND DORR LLP
22
     Senior Deputy Prosecuting Attorney              60 State Street
23   TONY GOLIK                                      Boston, MA 02109
     Clark County Prosecuting Attorney               Tel: (617) 526-6000
24   1300 Franklin St., Suite 380                    Fax: (617) 526-5000
     Vancouver, WA 98666-5000                        robert.smith@wilmerhale.com
25   Tel: (564) 397-2478
     Fax: (564) 397-2184
26
     Amanda.Migchelbrink@clark.wa.gov
27   Attorney for Defendant Tony Golik
     STIPULATED MOTION                                         WILMER CUTLER PICKERING
28   (No. 3:25-cv-05461-DGE)                                   HALE AND DORR LLP
                                                               2100 Pennsylvania Avenue NW
                                                               Washington, DC 20037
                                                               (202) 663-6000 (t)
                                                               (202) 663-6363 (f)
           Case 3:25-cv-05461-DGE         Document 207    Filed 07/11/25        Page 5 of 9




 1
     By: /s/ Frederick A. Haist                      Mark L. Rienzi (pro hac vice)
 2   Frederick A. Haist, WSBA #48937                 Eric C. Rassbach (pro hac vice)
     Deputy Prosecuting Attorney                     William J. Haun (pro hac vice)
 3
     RICHARD E. WEYRICH                              Laura Wolk Slavis (pro hac vice)
 4   Skagit County Prosecuting Attorney              BECKET FUND FOR RELIGIOUS
     605 Third St.                                   LIBERTY
 5   Mount Vernon, WA 98273-3867                     1919 Pennsylvania Ave NW, Suite 400
     Tel: (360) 416-1600                             Washington, D.C. 20006
 6   Fax: (360) 416-1649                             Tel: (202) 955-0095
     fhaist@co.skagit.wa.us                          mrienzi@becketfund.org
 7
     Attorney for Defendant Richard Weyrich          erassbach@becketfund.org
 8                                                   whaun@becketfund.org
     By: /s/ Rachel K. Stanley                       lslavis@becketfund.org
 9   Rachel K. Stanley, WSBA #58280
     EVANS, CRAVEN & LACKIE, P.S.                    Hiram S. Sasser, III (pro hac vice
10   818 Riverside, Suite 250                        forthcoming)
11   Spokane, WA 99201-0910                          Jeremy Dys (pro hac vice forthcoming)
     Tel: (509) 455-5200                             Chris Motz (pro hac vice forthcoming)
12   Fax: (509) 455-3632                             FIRST LIBERTY INSTITUTE
     rstanley@ecl-law.com                            2001 W. Plano Pkwy., Ste. 1600
13   Attorney for Defendants Curt Liedike, Dale      Plano, Texas 75075
     Slack, Mathew Newburg, Kevin McCrae, Ty         Tel: (972) 941-4444
14   Albertson, Adam Kick, Erika George, and         Fax: (972) 941-4457
15   Denis Tracy                                     hsasser@firstliberty.org
                                                     jdys@firstliberty.org
16   By: /s/ Geoffrey A. Enns                        cmotz@firstliberty.org
     Geoffrey A. Enns, WSBA #40682
17   Deputy Prosecuting Attorney                     Attorneys for Plaintiffs
     JASON CUMMINGS
18   Snohomish County Prosecuting Attorney
19   3000 Rockefeller Ave. M/S 504
     Everett, WA 98201
20   Tel: (425) 388-6330
     Fax: (425) 388-6333
21   Geoff.Enns@co.snohomish.wa.us
     Attorney for Defendants Larry Haskell, Joseph
22
     Brusic, Randy Flyckt, Eric Eisinger, Robert
23   Sealby, Mark Nichols, Ryan Jurvakainen,
     James Mitchell, Michael Golden, Shawn Sant,
24   Norma Tillotson, Gregory Banks, Gregory
     Zempel, David Quesnel, Jonathan Meyer,
25   Michael Dorcy, Albert Lin, Michael Rothman,
     Dolly Hunt, Mary Robnett, Amy Vira, Jason
26
     Cummings, Jon Tunheim, Dan Bigelow Gabe
27   Acosta, and Eric Richey
     STIPULATED MOTION                                           WILMER CUTLER PICKERING
28   (No. 3:25-cv-05461-DGE)                                     HALE AND DORR LLP
                                                                 2100 Pennsylvania Avenue NW
                                                                 Washington, DC 20037
                                                                 (202) 663-6000 (t)
                                                                 (202) 663-6363 (f)
            Case 3:25-cv-05461-DGE           Document 207         Filed 07/11/25      Page 6 of 9




 1                                         [PROPOSED] ORDER

 2          PURSUANT TO THE FOREGOING STIPULATION, IT IS SO ORDERED.

 3          This matter is before the Court on the Stipulated Motion to Stay Proceedings and Enter
 4   Preliminary Injunction as to County Prosecutor Defendants (“Motion”) (Dkt. 65). Defendants
 5   Leesa Manion, Larry Haskell, Joseph Brusic, Randy Flyckt, Curt Liedkie, Eric Eisinger, Robert
 6   Sealby, Mark Nichols, Tony Golik, Dale Slack, Ryan Jurvakainen, James Mitchell, Michael
 7   Golden, Shawn Sant, Mathew Newberg, Kevin McRae, Norma Tillotson, Gregory Banks, James
 8   Kennedy, Chad Enright, Gregory Zempel, David Quesnel, Jonathan Meyer, Ty Albertson,
 9   Michael Dorcy, Albert Lin, Michael Rothman, Dolly Hunt, Mary Robnett, Amy Vira, Rich
10   Weyrich, Adam Kick, Jason Cummings, Erika George, Jon Tunheim, Dan Bigelow, Gabe
11   Acosta, Eric Richey, and Denis Tracy (the “Stipulating Defendants”) have agreed, in exchange
12   for Plaintiffs’ agreement to stay the lawsuit against them, to stipulate to the Court’s entry of the
13   Plaintiffs’ proposed preliminary injunction (Dkt. 65-1) pending the Court’s final judgment in this
14   case, including during the pendency of any potential interlocutory appeal. The Stipulating
15   Defendants have further agreed to consent to the Court’s final judgment against the remaining
16   defendants and not to appeal any such judgment. In consideration of these mutual agreements,
17   Plaintiffs have agreed not to seek attorneys’ fees and/or costs from the Stipulating Defendants at
18   the conclusion of this matter and regardless of the Court’s final judgment. The Stipulating
19   Defendants have likewise agreed to waive any claim for attorneys’ fees and/or costs from the
20   Plaintiffs, regardless of the Court’s final judgment.
21          Having reviewed the Motion, the docket and all related material, and good cause
22   appearing therefrom, the Court hereby ORDERS as follows:
23

24      1. The Stipulating Defendants are hereby subject to and bound by Exhibit A to this Order.

25      2. Plaintiffs’ action against the Stipulating Defendants shall be STAYED until the entry of a
            final judgment in this matter as to all other defendants. During the pendency of the stay,
26
     [PROPOSED] ORDER GRANTING                                           WILMER CUTLER PICKERING
27   STIPULATED MOTION                                                   HALE AND DORR LLP
                                                                         2100 Pennsylvania Avenue NW
28   (No. 3:25-cv-05461-DGE)                                             Washington, DC 20037
                                                                         (202) 663-6000 (t)
                                                                         (202) 663-6363 (f)
           Case 3:25-cv-05461-DGE           Document 207         Filed 07/11/25      Page 7 of 9




 1          the Stipulating Defendants’ deadline to respond to the Complaint and all other case

 2          deadlines applicable to the Stipulating Defendants shall be STRICKEN.
        3. The Stipulating Defendants will not appeal any interlocutory ruling in this matter,
 3
            including but not limited to the Court’s ruling on Plaintiffs’ Motion for Preliminary
 4
            Injunction (Dkt. 65).
 5
        4. The Stipulating Defendants will consent to the Court’s final judgment against the
 6          remaining defendants and will not appeal any such judgment.
 7      5. In consideration of these mutual agreements, Plaintiffs will not seek attorneys’ fees
 8          and/or costs from the Stipulating Defendants at the conclusion of this matter and

 9          regardless of the Court’s final judgment. The Stipulating Defendants likewise waive any
            claim for attorneys’ fees and/or costs from the Plaintiffs, regardless of the Court’s final
10
            judgment.
11

12
            IT IS SO ORDERED.
13
            DATED this ____ day of ___________________, 2025
14

15

16                                                 HONORABLE DAVID G. ESTUDILLO
                                                   CHIEF UNITED STATES DISTRICT JUDGE
17

18
     Presented by:
19
     /s/ Siddharth Velamoor
20   Siddharth Velamoor, WSBA #40965
     WILMER CUTLER PICKERING HALE AND
21       DORR LLP
22   2100 Pennsylvania Avenue, NW
     Washington, DC 20037
23   Tel: (202) 663-6000
     Fax: (202) 663-6363
24   siddharth.velamoor@wilmerhale.com
25

26
     [PROPOSED] ORDER GRANTING                                          WILMER CUTLER PICKERING
27   STIPULATED MOTION                                                  HALE AND DORR LLP
                                                                        2100 Pennsylvania Avenue NW
28   (No. 3:25-cv-05461-DGE)                                            Washington, DC 20037
                                                                        (202) 663-6000 (t)
                                                                        (202) 663-6363 (f)
            Case 3:25-cv-05461-DGE        Document 207   Filed 07/11/25   Page 8 of 9




 1    /s/ Anna K. Aruiza
     Anna K. Aruiza, WSBA #39663
 2   Senior Deputy Prosecuting Attorney
     CHAD M. ENRIGHT
 3
     Kitsap County Prosecuting Attorney
 4   614 Division St. MS-35A
     Port Orchard, WA 98366-4676
 5   Tel: (360) 337-4992
     Fax: (360) 337-7083
 6   aaruiza@kitsap.gov
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
     [PROPOSED] ORDER GRANTING                                WILMER CUTLER PICKERING
27   STIPULATED MOTION                                        HALE AND DORR LLP
                                                              2100 Pennsylvania Avenue NW
28   (No. 3:25-cv-05461-DGE)                                  Washington, DC 20037
                                                              (202) 663-6000 (t)
                                                              (202) 663-6363 (f)
           Case 3:25-cv-05461-DGE           Document 207        Filed 07/11/25      Page 9 of 9




 1                                             EXHIBIT A

 2          Pursuant to the Stipulated Motion of Plaintiffs Paul D. Etienne, Joseph J. Tyson, Thomas

 3   A. Daly, Frank R. Schuster, Eusebio L. Elizondo, Gary F. Lazzeroni, Gary M. Zender, Robert

 4   Pearson, Lutakome Nsubuga, Jesús Mariscal, and Michael Kelly (“Plaintiffs”) and Defendants

 5   Leesa Manion, Larry Haskell, Joseph Brusic, Randy Flyckt, Curt Liedkie, Eric Eisinger, Robert

 6   Sealby, Mark Nichols, Tony Golik, Dale Slack, Ryan Jurvakainen, James Mitchell, Michael

 7   Golden, Shawn Sant, Mathew Newberg, Kevin McRae, Norma Tillotson, Gregory Banks, James

 8   Kennedy, Chad Enright, Gregory Zempel, David Quesnel, Jonathan Meyer, Ty Albertson, Michael

 9   Dorcy, Albert Lin, Michael Rothman, Dolly Hunt, Mary Robnett, Amy Vira, Rich Weyrich, Adam

10   Kick, Jason Cummings, Erika George, Jon Tunheim, Dan Bigelow, Gabe Acosta, Eric Richey, and

11   Denis Tracy (the “Stipulating Defendants”), IT IS HEREBY ORDERED that the Stipulating

12   Defendants and their agents, servants, employees, and attorneys, and other persons who are in

13   active concert or participation with Stipulating Defendants, their agents, servants, employees, and

14   attorneys, are preliminarily enjoined, pursuant to Federal Rule of Civil Procedure 65(a), from

15   enforcing or attempting to enforce RCW § 26.44.030, as amended by Senate Bill 5375, as applied

16   to information learned by Roman Catholic priests solely through the Sacrament of Confession.

17

18

19

20

21

22

23

24

25

26
     [PROPOSED] ORDER GRANTING                                         WILMER CUTLER PICKERING
27   STIPULATED MOTION                                                 HALE AND DORR LLP
                                                                       2100 Pennsylvania Avenue NW
28   (No. 3:25-cv-05461-DGE)                                           Washington, DC 20037
                                                                       (202) 663-6000 (t)
                                                                       (202) 663-6363 (f)
